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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


  ____________________________________
                                      )
  BETTY’S BEST, INC.,                 )
  Plaintiff,                          )
                                      )                              Case No. 1:23-cv-22322-KMW
  v.                                  )
                                      )
  THE INDIVIDUALS, PARTNERSHIPS, )
  AND UNINCORPORATED                  )
  ASSOCIATIONS IDENTIFIED ON          )
  SCHEDULE “A,”                       )
  Defendants                          )
                                      )
  ____________________________________)



   RULE 7.1 CORPORATE DISCLOSURE STATEMENT OF CERTAIN DEFENDANTS
                    ON SCHEDULE “A” OF COMPLAINT

             Defendants Nos. 720, 743, 769, 781, 831, 870, 906, 911, 912, 918, 924, as identified in

  Schedule “A” to the Complaint (DE 0011-007), disclose pursuant to Rule 7.1 of the Federal Rules

  of Civil Procedure that Larryhot Trading Co., Limited is their controlling company.

         Defendant No. 735, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Mind E-commerce Co.,

  Limited is its controlling company.

         Defendants Nos. 767, 778, as identified in Schedule A to the Complaint (DE 0011-007),

  disclose     pursuant   to   Rule   7.1   of   the       Federal   Rules   of   Civil   Procedure   that

  Giske Network Technology Co., Limited is their controlling company.


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         Defendants Nos. 773, 821, 832, 907, 913, 919, 775, as identified in Schedule “A” to the

  Complaint (DE 0011-007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure

  that Suzhou Chenghe Network Technology Co., Ltd. is their controlling company.

         Defendant No. 916, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Vedo Trading Co.,

  Limited is its controlling company.

         Defendants Nos. 704, 800, as identified in Schedule “A” to the Complaint (DE 0011-007),

  disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Suzhou Ruoxing

  Network Technology Co., Ltd. is their controlling company.

         Defendants Nos. 714, 847, as identified in Schedule “A” to the Complaint (DE 0011-007),

  disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Shenzhen Jiayi E-

  Commerce Co., Ltd. is their controlling company.

         Defendant No. 754, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses   pursuant   to   Rule   7.1   of   the       Federal   Rules   of   Civil   Procedure   that

  Vanice Technology Co., Limited is its controlling company.

         Defendant No. 763, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Starcraft Network

  Limited is its controlling company.

         Defendant No. 785, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Sonzea Trading Co.,

  Limited is its controlling company.


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         Defendants Nos. 702, 914, 927, as identified in Schedule “A” to the Complaint (DE 0011-

  007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Dongguan Hengjia

  E-Commerce Co., Ltd. is their controlling company.

         Defendants Nos. 786, 817, 825, 871, as identified in Schedule “A” to the Complaint (DE

  0011-007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Nanchang

  Huiyun Linghai Technology Co., Ltd. is their controlling company.

         Defendants Nos. 798, 877, as identified in Schedule “A” to the Complaint (DE 0011-007),

  disclose    pursuant   to   Rule   7.1   of     the       Federal   Rules   of   Civil   Procedure   that

  Banbain Trade Co., Limited is their controlling company.

         Defendant No. 840, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Husdow Technology

  Co., Limited is its controlling company.

         Defendant No. 915, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses   pursuant   to   Rule   7.1     of   the       Federal   Rules   of   Civil   Procedure   that

  Ayor Trading Co., Limited is its controlling company.

         Defendants Nos. 772, 880, 917, 923, as identified in Schedule “A” to the Complaint (DE

  0011-007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that

  Amgo Technology Co., Limited is their controlling company.

         Defendants Nos. 713, 839, as identified in Schedule “A” to the Complaint (DE 0011-007),

  disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Elay E-commerce Co.,

  Limited is their controlling company.


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         Defendant No. 715, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Danceage Network

  Limited is its controlling company.

         Defendants Nos. 728, 765, 803, 909, 879, as identified in Schedule “A” to the Complaint

  (DE 0011-007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Zero-

  Miracle Network Limited is their controlling company.

         Defendants Nos. 780, 818, 819, 878, 883, as identified in Schedule “A” to the Complaint

  (DE 0011-007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that

  Shenzhen Jijing Network Technology Co., Ltd. is their controlling company.

         Defendants Nos. 822, 910, as identified in Schedule “A” to the Complaint (DE 0011-007),

  disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Nanchang Huimeng

  Network Technology Co., Ltd. is their controlling company.

         Defendants Nos. 858, 888, 922, as identified in Schedule “A” to the Complaint (DE 0011-

  007), disclose pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Nanchang Sikerui

  Technology Co., Ltd. is their controlling company.

         Defendant No. 891, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Nanchang Laifei

  Technology Co., Ltd. is its controlling company.

         Defendant No. 904, as identified in Schedule “A” to the Complaint (DE 0011-007),

  discloses pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that Wuhan Quanda Network

  Technology Co., Ltd. is its controlling company.


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                                           Respectfully submitted,

  Dated: October 2, 2023

                                           Giuliano Law Group, P.A.

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                                           Attorney for Certain Defendants Nos. 720,
                                           743, 769, 781, 831, 870, 906, 911, 912, 918,
                                           924, 735, 767, 778, 773, 821, 832, 907, 913,
                                           919, 775, 916, 704, 800, 714, 847, 754, 763,
                                           785, 702, 914, 927, 786, 817, 825, 871, 798,
                                           877, 840, 915, 772, 880, 917, 923, 713, 839,
                                           715, 728, 765, 803, 909, 879, 780, 818, 819,
                                           878, 883, 822, 910, 858, 888, 922, 891, 904.




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